Case 20-60681-jwc   Doc 72   Filed 05/31/22 Entered 05/31/22 15:26:34   Desc Main
                             Document      Page 1 of 7
Case 20-60681-jwc   Doc 72   Filed 05/31/22 Entered 05/31/22 15:26:34   Desc Main
                             Document      Page 2 of 7
Case 20-60681-jwc   Doc 72   Filed 05/31/22 Entered 05/31/22 15:26:34   Desc Main
                             Document      Page 3 of 7
Case 20-60681-jwc   Doc 72   Filed 05/31/22 Entered 05/31/22 15:26:34   Desc Main
                             Document      Page 4 of 7
Case 20-60681-jwc   Doc 72   Filed 05/31/22 Entered 05/31/22 15:26:34   Desc Main
                             Document      Page 5 of 7
Case 20-60681-jwc   Doc 72   Filed 05/31/22 Entered 05/31/22 15:26:34   Desc Main
                             Document      Page 6 of 7
Case 20-60681-jwc   Doc 72   Filed 05/31/22 Entered 05/31/22 15:26:34   Desc Main
                             Document      Page 7 of 7
